Case 2:07-cr-00119-RHW   ECF No. 172   filed 03/16/09   PageID.581 Page 1 of 6
Case 2:07-cr-00119-RHW   ECF No. 172   filed 03/16/09   PageID.582 Page 2 of 6
Case 2:07-cr-00119-RHW   ECF No. 172   filed 03/16/09   PageID.583 Page 3 of 6
Case 2:07-cr-00119-RHW   ECF No. 172   filed 03/16/09   PageID.584 Page 4 of 6
Case 2:07-cr-00119-RHW   ECF No. 172   filed 03/16/09   PageID.585 Page 5 of 6
Case 2:07-cr-00119-RHW   ECF No. 172   filed 03/16/09   PageID.586 Page 6 of 6
